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Bowles, Susan Bowles, Darrell Campbell, Judith Campbell, Margaret Cawthron, Henry Choate,
Susan Choate, Roy Clark, Shirley Conyers, Steve Dallas, James Davitt, Paula Dennie, Linda
Embry, Eric Yu, Sid Fisher, Noel Funderburk, Sandra Funderburk, William Green, Bryan Hall,
Gregory Heintz, Tyler Helteel, Russell Hill, Mark Holley, Susan Holley, Gary Hughes. Joseph
Jenkins, Stoney Johnson, Robert Kane, Nancy Kennedy, Lynette Leber, Nick Leber, Enrico
Lelina, Leon Leline, Luis Lopez, Kim Lopez, Neel Lyon, Paul Lyon, John McDonnell, Patricia
McDonnell, Barbara Moore, Thomas Moore, Wylie Moore, Harvey Morris, Mary Elizabeth
Morris, Elizabeth Morton, Scott Muls, Horace Neely, Douglas Powell, Gail Vetrong Quaedvileg,
Luis Quiroga, Dennis Renfro, William Roberson, Billy Ross, Susan Shipp, William Shipp, Patrica
Smith, William Smith, Dean Spingola, Dennis Spingola, Mary Jo Streib, Wayne Stenger, Pamela
Tronadue, Jonothan Watkins, Alan Wharry, Zhongzhong Xie, Bin Zhang, Yulin Zhu, Roger
Zipoy and Ruby Zipoy


                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

IN RE:                                     §
                                           §
AGAP LIFE OFFERINGS, LLC                   §       Case no. 16-40520-11
                                           §       (Jointly Administered)
                                           §
         DEBTOR                            §

          JOINDER IN MOTION TO APPOINT CHIEF RESTRUCTURING OFFICER

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE BRENDA T. RHOADES:


         COMES NOW, Thurman Alexander, Shelby Bain, Sherry Bain, Harry Berg, Robert

Bowie, Glen Bowles, Susan Bowles, Darrell Campbell, Judith Campbell, Margaret Cawthron,

Henry Choate, Susan Choate, Roy Clark, Shirley Conyers, Steve Dallas, James Davitt, Paula
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Dennie, Linda Embry, Eric Yu, Sid Fisher, Noel Funderburk, Sandra Funderburk, William Green,

Bryan Hall, Gregory Heintz, Tyler Helteel, Russell Hill, Mark Holley, Susan Holley, Gary

Hughes. Joseph Jenkins, Stoney Johnson, Robert Kane, Nancy Kennedy, Lynette Leber, Nick

Leber, Enrico Lelina, Leon Leline, Luis Lopez, Kim Lopez, Neel Lyon, Paul Lyon, John

McDonnell, Patricia McDonnell, Barbara Moore, Thomas Moore, Wylie Moore, Harvey Morris,

Mary Elizabeth Morris, Elizabeth Morton, Scott Muls, Horace Neely, Douglas Powell, Gail

Vetrong Quaedvileg, Luis Quiroga, Dennis Renfro, William Roberson, Billy Ross, Susan Shipp,

William Shipp, Patrica Smith, William Smith, Dean Spingola, Dennis Spingola, Mary Jo Streib,

Wayne Stenger, Pamela Tronadue, Jonothan Watkins, Alan Wharry, Zhongzhong Xie, Bin Zhang,

Yulin Zhu, Roger Zipoy and Ruby Zipoy creditors and parties in interest in the above styled and

numbered cases and filed this their Joinder in Motion to Appoint Chief Restructuring Officer and

in support thereof would respectfully show unto the Court as follows:

       1.      On July 11, 2016 the Debtor filed a Motion to Appoint Chief Restructuring

               Officer.

       2.      The above creditors join in support of the Motion.


                                             Respectfully submitted,



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                                             BY: /s/ Eric Liepins_____
                                             ERIC A. LIEPINS, SBN 12338110
                                             Eric A. Liepins
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                                       CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of foregoing Joinder was sent to all creditors on
the attached matrix on the 28th day of July, 2016.

                                       _/s/ Eric Liepins___
                                       Eric Liepins
